Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 1 of 9. PageID #: 335740




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Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 2 of 9. PageID #: 335741
Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 3 of 9. PageID #: 335742
Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 4 of 9. PageID #: 335743
Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 5 of 9. PageID #: 335744
Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 6 of 9. PageID #: 335745
Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 7 of 9. PageID #: 335746
Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 8 of 9. PageID #: 335747
Case: 1:17-md-02804-DAP Doc #: 2212-4 Filed: 08/13/19 9 of 9. PageID #: 335748
